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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

             Plaintiff,

v.

KAREN MC CLAFLIN,

           Defendant.
_____________________________________________________________________

      UNOPPOSED MOTION TO CONTINUE DECEMBER 6, 2018 HEARING
_____________________________________________________________________

      Karen McClaflin, though counsel, moves to continue the hearing in this case

currently set for December 6, 2018. The government does not oppose the motion given

the circumstances.

      Counsel for Ms. McClaflin last appeared pro bono to move for a stay of execution

of the Order to surrender. The Court issued another Order on October 7, 2018 in which

the self surrender was stayed for 60 day and set a hearing for December 6, 2018 at

3:00 p.m.

      Counsel then received a report from the government which is restricted. After

reviewing the report, pro bono counsel waited to determine if a hearing would be

necessary. Counsel spoke with ASA Pegeen Rhyne on November 26 or November 27

to determine if a hearing was necessary and learned that the government is proceeding.

Counsel then spoke with Ms. McClaflin on November 29, at which time counsel decided

that it would be necessary to ask for a CJA appointment in order to receive


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compensation and to take advantage of CJA resources, namely, to issue subpoenas

and to prevent being charged the doctor’s hourly fees for traveling and appearing in

court. That was approximately 11:30 a.m.

       At 11:53 counsel received a telephone call to come quickly. By noon, counsel

was in the PSL emergency room and did not leave the hospital until sometime after 8:00

p.m. Counsel returned to the hospital at 7:20 a.m. and remains while drafting this

motion. Hospitalization will continue through at least the morning of November 30,

2018. The government is aware of the medical issue and therefore does not oppose

this motion. Counsel has spoken with Ms. Rhyne and both would be available during

the first or second week in January 2019. Undersigned counsel is set for trials on

December 10, 2018 and December 17, 2018. Ms. Rhyne will be out of Colorado on

December 21, 2018. Counsel does not object to the Court contacting either Ms. Rhyne

or me directly if the Court needs further details that I am not comfortable detailing in this

motion.

       WHEREFORE, Ms. McClaflin moves to continue the hearing in this to the first or

second week in January 2019.

                                                  Respectfully submitted,

                                                  s/ Thomas J. Hammond
                                                  Thomas J. Hammond
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                                                  Attorney for Karen McClaflin, pro bono


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                              CERTIFICATE OF SERVICE

      I hereby certify that on November 29, 2018, I electronically filed the foregoing
UNOPPOSED MOTION TO CONTINUE DECEMBER 6, 2018 HEARING with the Clerk
of the Court using the CM/ECF filing system which will send notification of such filing to
the appropriate parties.



s/ Thomas J. Hammond
Thomas J. Hammond




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